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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

QIANO SHIYAO, Individually and on Behalf of
All Others Similarly Situated,
                                                          Case No. 1:24-cv-07837-GHW
                              Plaintiffs,

         -against-

XIAO-I CORPORATION, HUI YUAN, WEI                         NOTICE OF APPEARANCE
WENG, WENJING CHEN, XIAOMEI WU,
JUN XU, ZHONG LIN, H. DAVID
SHERMAN, GREGORY K. LEE, GKL
CORPORATE/SEARCH, INC., AC SUNSHINE
SECURITIES LLC, SBI CHINA CAPITAL
FINANCIAL SERVICES LIMITED, PRIME
NUMBER CAPITAL LLC and GUOTAI JUNAN
SECURITIES (HONG KONG) LIMITED,

                              Defendants.



         PLEASE TAKE NOTICE that Alexander D. Walsdorf of K&L Gates LLP, hereby enters

his appearance in this action as counsel of record for Defendant AC Sunshine Securities LLC

and requests that all pleadings and papers in this action be served upon the undersigned.



Dated:    New York, NY                               Respectfully submitted,
          April 8, 2025
                                                     K&L GATES LLP

                                                     By: /s/ Alexander D. Walsdorf
                                                            Alexander D. Walsdorf
                                                     599 Lexington Avenue
                                                     New York, New York 10022
                                                     Email: alex.walsdorf@klgates.com
                                                     Phone: (212) 536-3900
                                                     Fax: (212) 536-3901

                                                     Counsel for Defendant AC Sunshine
                                                     Securities LLC
